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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


PATRIOT SERVICES GROUP LOUISIANA,                                       CIVIL ACTION
INC.
VERSUS                                                                  NO. 22-1025
LUXOR CONTRACTING GROUP INC.                                            SECTION "A" (3)

                            SCHEDULING CONFERENCE NOTICE

       A SCHEDULING CONFERENCE will be held BY TELEPHONE on TUESDAY,
SEPTEMBER 6, 2022 at 9:30 A.M., for the purpose of scheduling a pre-trial conference and trial
on the merits and for a discussion of the status and discovery cut-off dates.

    COUNSEL ARE INSTRUCTED TO CALL 888-278-0296 AND ENTER ACCESS
CODE 2901380 .

        TRIAL COUNSEL are to participate in this conference. A paralegal or secretary may not
be substituted. If, however, you are unable for good cause to do so, another attorney in your firm may
participate if acquainted with all details of the case and authorized to enter into any necessary
agreements. If, for good cause, neither is possible, you must file a Motion and Order to Continue at
least one week prior to the above date.

        Counsel adding new parties subsequent to the mailing of this notice shall notify such new
party to participate as required by this notice.

       Counsel are to comply with the discovery disclosure requirements of F.R.C.P. 26(a)(1), 26(f)
and Local Rule 26 and the corporate disclosure requirements of F.R.C.P. 7.1. Counsel are to be
prepared to answer the following questions concerning disclosure:
1. Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?
2. Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be made in this case?
3. Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?
4. Have the corporate parties filed their corporate disclosure statements?


                                                 Issued by: Bridget Gregory
                                                            Case Manager
                                                            (504) 589-7752
